                                                                         - 1 of 5 -                                                                  OFFICIAL RECORD
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                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       02/13 /2 023



        On February 9 , 2023, Federal Bureau of I nvest i gation Task Force Officer
         (T FO) Robert Wade o f the East Ridge (TN) Police Depa r tmen t (ERPD) conducted
        a review o f t he body worn camera (BWC) f ootage from t he 1/18/2023 arrest o f
        subject Jared BROOME tha t was captured on t he BWC ope rated by ERPD Ofc .
        Beadl e d u r ing BROOME ' S arrest . TFO Wade noted the f ollowing observations
        during review o f t he footage.

            (All time stamps are in MM : SS f o rmat.)

        (Note : This document is not intended to serve as a compl ete and exhaustive
        accounting for all i nformation ava il able by review of the l i sted f ootage .
        Fo r a compl ete record of all i nformation ava il able by review of the footage,
        refer t o a copy of the v i deo/audio recording . )

        The BWC footage captures ERPD Ofc. Beadl e's i nitia l approach t o the front
        door of the re s i dence where he makes contact with BROOME's grandmothe r ,
        Jeanie SNEED (SNEE D) . Ofc . Beadle asks if s he is Ms . Sneed , and she says ,
        " Yes ." Ofc . Beadle then asks "is Jared he re ? " SNEED says, "Yes." Ofc. Beadl e
        asks, "Whe re ' s he at?" She answers, "He's in the shed i n t he back ."

        At approxi mate time stamp 01 :50, the footage shows off i cers standing out side
        of the storage shed and calling for BROOME to exit .

        At approxi mate time stamp 02 : 00, BROOME i s ca l led o u t by SNEED and to l d come
        o u t o f t he storage buildi ng.

        At approxi mate time stamp 02 :5 6, SNEED asks if BROOME can get h is shoes.

        At approxi mate time stamp 02 :59, Ofc. Beadle asks BROOME where his s h oes are
        at.

        At approxi mate time stamp 03 : 04, BROOME nods towards the ground and says "I
        can wear them r i ght there ."

        At approxi mate time stamp 03 : 06, Ofc. Beadle indicate s that he d i d not hea r
        BROOME, and BROOME repeats h is statement tha t he can wear the s h oes he ha s


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   Investigationon     02/09/2023           at   Chattanooga, Tenne ssee, United State s                                 ( In Person)

   File #                                                                                                                    Date drafted    O2/13/2023

   by   Robert Owen Wade
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FD-302a (Rev. 5-8-10)


                                         UNCLASSIFIED//FOUO

                          (U//FOUO) Review of Ofc. Beadle Body
Continuation of FD-302 of Camera Footage Re: Jared Broome Arrest   , On   02/09/2023   , Page   2 of 5




          indicated on the ground.

          At approximate time stamp 03:07, Ofc Beadle asks BROOME, "You don't want
          your shoes in here?" This is an apparent reference to the interior of the
          shed.

          At approximate time stamp 03:09, BROOME answers Ofc. Beadle by saying no.

          At approximate time stamp 03:12, BROOME says that he does not know where
          they are at, referencing his shoes from inside the storage building.

          At approximate time stamp 03:16, Ofc. Beadle states, "Your shoes are right
          there."

          At approximate time stamp 03:18, the following exchange takes place:

               BROOME: "Okay."

               Ofc. Beadle: "Do you want them?"

               BROOME: "Yeah."

          At approximate time stamp 03:19, the following exchange takes place:

               Ofc. Beadle: "Can I grab them?"

               BROOME: "Yeah."

          Following this exchange, Ofc. Beadle enters the storage building and
          illuminates his surroundings by flashlight before and after retrieving a
          pair of shoes.

          At approximate time stamp 03:44, Ofc. Beadle says, "Here's your shoes" and
          appears to hand the shoes out of the storage building.

          At approximate time stamp 04:03, Ofc. Beadle exits the storage building.

          At approximate time stamp 05:18, Ofc. Beadle asks BROOME if one of the
          vehicles they pass is BROOME's vehicle. At the time, they are walking down
          the driveway towards the parked patrol cars.

          At approximate time stamp 05:22, Ofc. Beadle says that there is a baggie on
          the seat of the vehicle.

          At approximate time stamp 05:26, Ofc. Beadle opens the vehicle door.


           Case 1:23-cr-00037-CEA-CHS UNCLASSIFIED//FOUO                         000021
                                       Document 17-3 Filed 08/08/23 Page 2 of 5 PageID #: 61
FD-302a (Rev. 5-8-10)


                                         UNCLASSIFIED//FOUO

                          (U//FOUO) Review of Ofc. Beadle Body
Continuation of FD-302 of Camera Footage Re: Jared Broome Arrest   , On   02/09/2023   , Page   3 of 5




          At approximate time stamp 05:44, Ofc. Beadle states, "It's got a little bit
          of residue or something in it."

          At approximate time stamp 06:21, the following exchange takes place:

               Ofc. Beadle: "Whose car is that?"

               BROOME: "It's, like, mine and my mom's. We share it."

          Ofc. Beadle asks BROOME if the car they are discussing is the car that
          BROOME was in "the other night."

          At approximate time stamp 06:30, BROOME answers, "Nah."

          At approximate time stamp 06:37, BROOME states, "We share it."

          At approximate time stamp 06:46, Ofc. Beadle asks BROOME, "What's all in the
          shed that's illegal? You got a little bit of pills and stuff in there?"

          At approximate time stamp 06:48, BROOME shakes his head from side to side.

          At approximate time stamp 06:57, the following exchange takes place:

               Ofc. Beadle: "There ain't no pills in there, right now?"

               BROOME: "There ain't nothing in there."

               BROOME: "I ain't got shit."

          At approximate time stamp 07:01, the following exchange takes place:

               Ofc. Beadle: "You don't mind if I look, then?"

               BROOME: "I don't consent to nothing, man."

          Ofc. Beadle then walks over to speak with SNEED while other officers escort
          BROOME to the patrol vehicle.

          At approximate time stamp 07:16, Ofc. Beadle asks SNEED if BROOME pays rent
          and verifies with her that BROOME is her grandson. SNEED does verify that
          BROOME is her grandson. No clear response to the question of BROOME paying
          rent was observed.

          At approximate time stamp 07:29, SNEED says that BROOME has been going
          through a lot and was a supervisor at the plant before he lost his job.


           Case 1:23-cr-00037-CEA-CHS UNCLASSIFIED//FOUO                         000022
                                       Document 17-3 Filed 08/08/23 Page 3 of 5 PageID #: 62
FD-302a (Rev. 5-8-10)


                                         UNCLASSIFIED//FOUO

                          (U//FOUO) Review of Ofc. Beadle Body
Continuation of FD-302 of Camera Footage Re: Jared Broome Arrest   , On   02/09/2023   , Page   4 of 5




          At approximate time stamp 08:01, Ofc. Beadle points toward the storage
          building and the following exchange takes place:

               Ofc. Beadle: "This is your building, right?"

               SNEED: "Yes, sir."

          At approximate time stamp 08:08, Ofc. Beadle states, "Here's the next thing,
          okay. We got a little bit of information that he's selling some pills out of
          here. We know he don't have a job--yeah, I know. Um, to refrain from getting
          a search warrant for the entire house, and that bothering you with all
          this..."

          Ofc. Beadle does not finish his statement. Instead he reacts to
          SNEED stating that she had just had surgery.

          At approximate time stamp 08:32, the following exchange takes place:

             Ofc. Beadle: "Do you know of anything that's illegal in there right
          now?"

             SNEED: No, sir. I don't. I don't know what's going on in there. All I
          know is he just has his tools and stuff. He's been working on his cars.

          At approximate time stamp 08:42, the following exchange takes place:

               Ofc. Beadle: "Do you have stuff out there, too? Tools and stuff?"

               SNEED: "No. Mostly, it's all his stuff."

          At approximate time stamp 08:50, SNEED states, "Now, you're more than
          welcome to search it."

          At approximate time stamp 08:52, Ofc. Beadle states, "Okay, I appreciate
          that."

          At approximate time stamp 09:06, Ofc. Beadle picks up a piece of aluminum
          foil from a spot on the ground located outside of the storage building and
          next to the threshold of the entrance to the storage building.

          At approximate time stamp 09:17, Ofc. Beadle enters the storage building.

          At approximate time stamp 09:34, Ofc. Beadle observes and touches a piece of
          aluminum foil in a storage space attached to a shelf.


           Case 1:23-cr-00037-CEA-CHS UNCLASSIFIED//FOUO                         000023
                                       Document 17-3 Filed 08/08/23 Page 4 of 5 PageID #: 63
FD-302a (Rev. 5-8-10)


                                         UNCLASSIFIED//FOUO

                          (U//FOUO) Review of Ofc. Beadle Body
Continuation of FD-302 of Camera Footage Re: Jared Broome Arrest   , On   02/09/2023   , Page   5 of 5




          At approximate time stamp 09:54, Ofc. Beadle shines his flashlight inside an
          open backpack that is hanging on a wall.

          At approximate time stamp 10:08, Ofc. Beadle shines his flashlight so as to
          illuminate a plastic basket that is inside a wall mounted box with an open
          glass door.

          (Note: A digital copy of the BWC footage referenced in this document will be
          maintained in the 1A section of the captioned file)




           Case 1:23-cr-00037-CEA-CHS UNCLASSIFIED//FOUO                         000024
                                       Document 17-3 Filed 08/08/23 Page 5 of 5 PageID #: 64
